                                Case 2:19-cv-00018-cr Document 18 Filed 09/05/19 Page 1 of 1
✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                                                                       DISTRICT OF                                     VERMONT



                           Shaun P. Golden
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                         Hermitage Inn, et al.                                                                         Case Number: 2:19-cv-018

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Christina Reiss, District Judge                                    Bertrand, Esq., Girardi, Esq.                             NA
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 9/5/2019                                                           Johanna Masse                                             Jennifer Ruddy
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   1                   9/5/2019           yes           yes         Lot 29 Appraisal by Mr. Lauren Mason

   2                   9/5/2019           yes           yes         Email from Mr. Barnes, May 2017, to Mr. Golden re: real estate

   3                   9/5/2019           yes           yes         Appraisal that Mr. Barnes attached to email

   4                   9/5/2019           yes           yes         Appraisal Report of Real Property for Hermitage Club

   5                   9/5/2019           yes           yes         Purchase and Sale Contract for the 5 lots

   7                   9/5/2019           yes           yes         Settlement Statement for the 5 lots

   8                   9/5/2019           yes           yes         Warranty Deed for Lot, State of vermont property tax transfer form

   9                   9/5/2019           yes           yes         Warranty Deed for Lot, State of vermont property tax transfer form

  10                   9/5/2019           yes           yes         Warranty Deed for Lot, State of vermont property tax transfer form

  11                   9/5/2019           yes           yes         Warranty Deed for Lot, State of vermont property tax transfer form

  12                   9/5/2019           yes           yes         Warranty Deed for Lot, State of vermont property tax transfer form

   6                   9/5/2019           yes           yes         Appraisal for 29 Stags Leap Lane done January 19, 2018

  13                   9/5/2019           yes           yes         Vendor Invoice summary

  ***                  9/5/2019           yes           yes         Exhibits 14-40: Vendor Invoices




                                                                    Witness

                       9/5/2019                                     Lauren Mason

                       9/5/2019                                     Shaun Golden




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    1   Pages
